17-22305-rdd        Doc 40      Filed 06/20/18        Entered 06/20/18 12:56:36              Main Document
                                                     Pg 1 of 4



    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------x
    In re:

       MICHAEL CAREW,                                                         Case No. 17-22305 (RDD)
                                        Debtor.                               Chapter 11
    ------------------------------------------------------------------x

                                   LOSS-MITIGATION ORDER

A Loss Mitigation Request1 was filed by the

        X Debtor on May 20, 2018;
        □ Creditor on [Date] _____________, 20__;
        □ The Court raised the possibility of Loss Mitigation on [Date] __________, 20__.

Pursuant to the Loss Mitigation Program Procedures, the parties have had notice and an
opportunity to object. Upon the foregoing, it is hereby

        ORDERED, that the following parties (collectively, the “Loss Mitigation Parties”) are
directed to participate in Loss Mitigation on Loan ending in xx8072:

        1. The Debtor, Michael Carew; and

      2. The Creditor, U.S. Bank National Association as Trustee for Bank of America
Funding Corporation 2007-C with respect to the property located at 15 Post Lane South,
Almont (Ramapo), New York 10932; and it is further.

     ORDERED, that the Loss Mitigation Parties shall comply with the Southern District of
New York Loss Mitigation Program Procedures; and it is further

        ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:
        1.  Within 7 days of the entry of this Order:
            o      Service of this Order: The Loss Mitigation Party seeking Loss Mitigation
               shall serve this Order upon the other Loss Mitigation Parties and any
               additional parties that were served with the Loss Mitigation Request. Upon
               service of this Order, an affidavit of service shall be filed with the Court.

        2.       Within 7 days of the service of the Loss Mitigation Order:


1
 Unless otherwise provided herein, all capitalized terms are defined in the Southern District of New York’s Loss
Mitigation Program Procedures.
                                                                                                         Page 1 of 4
17-22305-rdd         Doc 40     Filed 06/20/18        Entered 06/20/18 12:56:36              Main Document
                                                     Pg 2 of 4



                 o        Designation of Contact Persons: Each Loss Mitigation Party shall
                      designate contact persons and disclose contact information, unless this
                      information has been previously provided. As part of this obligation, the
                      Creditor shall furnish each Loss Mitigation Party with written notice of the
                      name, address and direct telephone number of the person who has full
                      settlement authority on the loan in question as well as the attorney or law firm
                      representing the Creditor in the Loss Mitigation; and

                 o        Creditor Loss Mitigation Affidavit: The Creditor shall serve upon the
                      Debtor and Debtor’s attorney a request for information using the “Creditor
                      Loss Mitigation Affidavit”2 form and shall file the “Creditor Loss Mitigation
                      Affidavit” form and proof of service of same on the Court’s Electronic Case
                      Filing System (ECF). The Creditor may designate its contact and attorney in
                      the “Creditor Loss Mitigation Affidavit.”

        3.       Within 14 days of the service of the Creditor Loss Mitigation Affidavit:

                 o        Debtor Loss Mitigation Affidavit: The Debtor shall serve upon the
                      Creditor all documents requested in a response to Creditor’s request for
                      information using the “Debtor Loss Mitigation Affidavit” and Debtor shall file
                      proof of service of said documents using the “Debtor Loss Mitigation
                      Affidavit” on ECF. All documents shall be sent in one complete package and
                      served upon the Creditor’s designated contact person and the Creditor’s
                      attorney.

        4.       Within 21 days of the service of the Debtor Loss Mitigation Affidavit:

                 o Conference Call: The Loss Mitigation Parties and their attorneys shall
                   participate in a conference call to discuss the status of Loss Mitigation.

                 o        Second Creditor Loss Mitigation Affidavit (if any): The Creditor shall
                      file on ECF and serve upon the Debtor and Debtor’s counsel a second
                      “Creditor Loss Mitigation Affidavit” setting forth any additional financial
                      documents required from the debtor(s), including, if applicable, a detailed
                      description of any inconsistencies found by the Creditor in the Debtor’s
                      documents that requires further clarification and the clarification required,
                      together with an affidavit of service for same. Failure to timely file the
                      “Creditor Loss Mitigation Affidavit” requesting additional documents or
                      explanations of inconsistences, if any, may result in the Creditor waiving its
                      right to obtain addition financial information from the Debtor and said


2
 Italicized words in quotations indicate that there is a form by the same name on the Bankruptcy Court’s website.
These forms shall be used whenever applicable.
                                                                                                         Page 2 of 4
17-22305-rdd       Doc 40    Filed 06/20/18     Entered 06/20/18 12:56:36         Main Document
                                               Pg 3 of 4



                    Creditor may be required to accept the Debtor’s representations regarding
                    income or other financial matters;

      5.      Within 14 days of the service of the Second Creditor Loss Mitigation
           Affidavit:

               o       Second Debtor Loss Mitigation Affidavit (if any): The Debtor shall
                    provide any requested information to the Creditor and file on ECF a second
                    “Debtor Loss Mitigation Affidavit” demonstrating service of same upon the
                    Creditor.

      6.       Within 60 days of the service of the Loss Mitigation Order:

               o        Second Conference Call: The Loss Mitigation Parties and their attorneys
                    shall participate in a second conference call if any documents remain
                    outstanding.

               o        Status Report: The Loss Mitigation Parties shall file a status report in the
                    form of a letter evidencing compliance with this Order and updating the Court
                    on the status of the Loss Mitigation and summarizing the conference call.

      7.       Within 75 days of service of the Loss Mitigation Order:

               o        Status Conference: The first status conference shall be held in this case
                    on September 11, 2018 at 10:00 AM at the United States Bankruptcy
                    Court located at 300 Quarropas St., White Plains, NY 10601 (the “Initial
                    Status Conference”). The Loss Mitigation Parties shall appear at the Status
                    Conference and provide the Court with a verbal Status Report. The Initial
                    Status Conference cannot be adjourned without permission of the Court
                    and consent of the other Loss Mitigation Parties.

                       If the Debtor has failed to provide any and all of the requested documents
                        prior to the Initial Status Conference, the Debtor shall appear at the Initial
                        Status Conference with said documents or be prepared to testify as to why
                        the Debtor has failed to provide them.

                       Should Debtor fail to provide to the Creditor all requested documentation
                        as required by the Creditor’s First and/or Second Loss Mitigation
                        Affidavits by the Initial Status Conference, the Creditor may seek
                        termination of Loss Mitigation at the Initial Status Conference, provided
                        that the Creditor files a “Request to Terminate Loss Mitigation” at least
                        seven (7) days prior to the Initial Status Conference in accordance with the
                        Loss Mitigation Program Procedures.

                                                                                            Page 3 of 4
17-22305-rdd        Doc 40    Filed 06/20/18     Entered 06/20/18 12:56:36          Main Document
                                                Pg 4 of 4



                        At the Initial Status Conference, the Court may consider a Settlement
                         reached by the Loss Mitigation Parties, or may adjourn the Initial Status
                         Conference, as necessary.

       8.      Within 30 days of the Initial Status Conference:

               o         Creditor Status Report: The Creditor shall file a status report indicating
                     whether or not the Debtor is entitled to a loan modification. If a modification
                     is offered, this status report shall set forth the terms and conditions thereof. If
                     no determination has been made upon this loan, the status report shall include
                     the name and phone number of the underwriter reviewing the file and the
                     exact level of review of the loan. Failure to do so may result in the Court
                     scheduling a date for Creditor, by a representative of same with full settlement
                     and negotiation authority, to appear before it to explain why it has not
                     provided to the Debtor with such information.

                               Appearance of Bank Representative: Should a representative of
                             the Creditor be required to appear at any time during the Loss
                             Mitigation, the Creditor shall file a letter designating the agent
                             appearing before the Court upon ECF.
And it is further

        ORDERED, that any matters that are currently pending between the Loss Mitigation
Parties may be adjourned by the Court to the date of the Initial Status Conference to the extent
those matters concern (1) relief from the automatic stay, (2) objection to the allowance of a proof
of claim, (3) reduction, reclassification or avoidance of a lien, (4) valuation of a Loan or
Property, (5) objection to confirmation of a plan of reorganization; or (6) any other matter so
scheduled by the Court.

        ORDERED that in a Chapter 7 case, the entry of this Order automatically defers the
 entry of an order granting the Debtor’s discharge until one day after an “Order Terminating
 Loss Mitigation and Final Report” is filed pursuant to Federal Rule of Bankruptcy Procedure
 4004(c)(2). The time to object to the Debtor’s discharge or the dischargeability of a debt is
 NOT extended by this Order; and it is further

        ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
file an objection to a plan of reorganization shall be extended until 14 days after the filing of an
“Order Terminating Loss Mitigation and Final Report.”

Dated: White Plains, New York
       June 19, 2018
                                                        /s/Robert D. Drain
                                                        United States Bankruptcy Judge

                                                                                              Page 4 of 4
